  Case 3:19-cv-00764-X Document 122 Filed 06/14/19                  Page 1 of 25 PageID 3535


                                   UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION


 VeroBlue Farms USA Inc.,                                §
        Plaintiff                                        §
                                                         §
   V.                                                    §
                                                         §   Civil Action No.3:19-cv-00764-L
 Leslie A. Wulf, Bruce A.Hall,James                      §
 REA,John rea,and Keith Driver,                          §
    Defendants/Counterplaintiffs                         §
                                                         §


   FOUNDER DEFENDANTS'RESPONSE TO PLAINTIFF VEROBLUE FARM USA,
          INC.'S MOTION FOR LEAVE TO AMEND ITS AMENDED COMPLAINT




1444671 vl - V026S.00001 Resp to VBF Mot_Amend (final)
  Case 3:19-cv-00764-X Document 122 Filed 06/14/19                     Page 2 of 25 PageID 3536


                                            TABLE OF CONTENTS




    I.       INTRODUCTION                                                                 3

    II.      STATEMENT OF FACTS                                                           5

    III.      ARGUMENTS AND AUTHORITIES                                                   7

              A. VBF Released All Claims against Hall and Ted Rea in the Termination

                  Agreements,thus the Claims Alleged Against them in the SAC are Futile

                  (Counts I-XIX)                                                          7

                   1. The Releases Contained in Ted Rea's and Hall's Termination

                       Agreements Encompass VBF's Claims Against Them                     8

                  2. VBF Has Not and Cannot Sufficiently Allege Fraudulent Inducement

                       to Avoid the Releases                                              9

              B. Plaintiff Cannot Adequately Plead A Civil RICO Claim, Rendering

                  That Portion ofIts Amendment Futile                                     13

                  1. Plaintifffails to allege any predicate acts of mail or wire fraud

                       with the requisite specificity                                     13

                  2. Plaintifffails to adequately allege a pattern of activity            17

                  3. Plaintifffails to adequately plead the existence ofa RICO

                       Enterprise                                                         19




                                                        2
1444671 vl -V026S.00001 Resp to VBF Mot_Ainend (fmal)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19               Page 3 of 25 PageID 3537


                                           TABLE OF AUTHORITY


                                                                                  Page(s)
Cases


Abraham v. Singh,
 480 F.3d 351 (5th Cir. 2007)                                                         22
Acosta V. Insignia Energy Grp., Inc.,
  2014 WL 5295320(N.D. Tex. Oct. 16,2014)                                             22
Ashcroft V. Iqbal,
 556 U.S.662(2009)                                                                    10
Atkinson v. Anadarko Bank and Trust Co.,
 808 F.2(i 438(5th Cir.)                                                           22,23
BenchmarkElecs., Inc. v. J.M. Huber Corp.,
 343 F.3d 719(5th Cir. 2003)                                                          20
Boyle V. United States,
 556 U.S. 938(2009)                                                                   22
Carpenter v. United States,
 484 U.S. 19(1987)                                                                    17
Clapper v. Am. Realty Inv'rs, Inc.,
 2016 WL 302313, n. 14(N.D. Tex. Jan. 25,2016)                                        21
Crowe V. Henry,
 43 F.3dl98(5th Cir. 1995)                                                            23
Delta Truck & Tractor, Inc. v. J.I. Case,
  855 F.2d 241 (5th Cir. 1988)                                                        23
DiVittorio v. Equidyne Extractive Indus., Inc.,
  822 F.2d 1242(2nd Cir. 1987)                                                        17
Dresser Indus, v. Page Petroleum,
  853 S.W.2d 505(Tex. 1993)                                                           12
First Capital Asset Mgmt., Inc. v. Satinwood, Inc.,
  385 F.3d 159(2d Cir. 2004)                                                          21
Flood V. Makowski,
 2004 WL 1908221 (M.D.Pa. Aug.24,2004)                                                24
FMCInt'lA.G. v. ABBLummus Glob., Inc.,
 2006 WL 213948(S.D. Tex. Jan. 25,2006)                                               17
Foufas,
 867 F.2d 877(5th Cir. 1989)                                                          23
Gentry v. Resolution Trust Co.,
 937 F.2d 889(3rd Cir. 1991)                                                          16
Ginsburg v. ICC Holdings, LLC,
 2017 WL 5467688(N.D. Tex. Nov. 13,2017)                                              22
H.J., Inc. V. Nw. Bell Tel. Co.,
 492 U.S. 229(1989)                                                                   20
Hackv. Executive Flight, Inc.,
 1998 WL 460294(N.D. Tex. 1998)                                                       10
Havard v. Collins,



1444671vl - V026S.00001 Rcsp to VBF Mot.Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19        Page 4 of 25 PageID 3538


 2013 WL 12363628(N.D. Tex. Aug. 21,2013)                                18,20,22
Hawkins v. Hutchison,
 2007 WL 9758161 (N.D. Tex. May 10,2007)                                       18
In re Burzynski,
 989 F.2d 733(5th Cir.1993)                                                    17
Jackson v. BellSouth Telecommunications,
 372 F.3d 1250(11th Cir. 2004)                                                 21
Keck, Mahin & Cate v. Nat'I Union Fire Ins. Co.,
  20 S.W.3d 692(Tex. 2000)                                                     12
Little V. Liquid Air Corp.,
  37 F.2d 1069,1074 n.8 (5th Cir. 1994)(5th Cir. 1994)                         10
Malvino v. Delluniversita,
 840 F.3d 223(5th Cir. 2016)                                                   21
Matter ofSouthmark Corp.,
 88 F.3d311 (5th Cir. 1996)                                                    10
Mills V. Polar Molecular Corp.,
  12 F.3d 1170(2nd Cir. 1993)                                                  17
Montesano v. Seaflrst Commercial Corp.,
 818 F.2d 423(5th Cir. 1987)                                                   16
Moore v. Town N. Auto, Inc.,
  2014 WL 3396100(N.D. Tex. July 11,2014)                                      20
Nat'l Org.for Women, Inc. v. Scheidler,
  510 U.S. 249(1994)                                                           24
Null V. Easley,
  2009 WL 3853765(N.D. Tex. Nov. 18,2009)                                      22
Oblio Telecom, Inc. v. Patel,
 2009 WL 1650481 (N.D. Tex. June 10,2009)                                      22
Paul V. Aviva Life & Annuity Co.,
 2010 WL 5105925(N.D. Tex. Dec. 14,2010)                                       18
Schlumberger Technology Corp. v. Swanson,
 959 S.W.2d 171 (Tex. 1997)                                                 14,15
Shakeri v. ADTSec. Servs., Inc.,
  2013 WL 6498268(N.D. Tex. Dec.l 1,2013)                                      20
SharifV. Wellness Int'lNetwork, Ltd.,
  2007 WL 9711726(N.D. Tex. May 9,2007)                                     17,23
Smith V. Ayres,
  845 F.2d 1360(5th Cir. 1988)                                              17, 18
Spool V. World Child Int7 Adoption Agency,
  520 F.3d 178(2d Cir. 2008)                                                   21
Stanissis v. Dyncorp Int'l LLC,
  2015 WL 1931417(N.D. Tex. Apr. 29,2015)                                      19
Tel-phonic Services, Inc. v. TBS Int'l, Inc.,
  975 F.2d 1134(5th Cir. 1992)                                                 21
Thomas v. Chevron U.S.A., Inc.,
 832 F.3d 586(5th Cir. 2016)                                                   10
TransFirst Holdings, Inc. v. Phillips,



1444671vl - V0265.0000I Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19       Page 5 of 25 PageID 3539


 2007 WL 1468553(N.D. Tex. May 18,2007)                                    17,18
United States v. Bustamante,
 45F.3d933(5th Cir. 1995)                                                     21
United States v. Phillips,
 664 F.2d 971 (5th Cir. 1981)                                                 22
Victoria Bank and Trust Co. v. Brady,
 811 S.W.2d 931 (Tex. 1991)                                                   12
Walker v. Allianz Life Ins. Co. ofN. Am.,
 2009 WL 1883418(N.D. Tex. June 30,2009)                                      20
Walsh V. America's Tele-Network Corp.,
 195 F. Supp. 2d 840(E.D. Tex. 2002)                                          18
Whelanv. Winchester Prod. Co.,
 319 F.3d 225(5th Cir. 2003)                                                  23
Wildridge v. lER, Inc.,
 65 F.Supp.2d 429(N.D. Tex. 1999)                                             10
Williams V. WMXTechs., Inc.,
 112F.3d 175 (5th Cir. 1997)                                                  17
Wimm V. Jack Eckerd Corp.,
 3F.3dl37(5thCir. 1993)                                                       10

Statutes


18 U.S.C.§ 1961(3)                                                            16
18 U.S.C.§ 1962(c)                                                       7,11,23
18 U.S.C.§ 1962(c),(d)                                                        22
Iowa Code §684.4(l)(a)                                                         6
Iowa Code § 684.4(1)(b)                                                        6
Tex. Bus.& Comm. Code § 24.005                                                11

Rules


Fed. R. Civ. P. 15(a)                                                          6
Federal Rule of Civil Procedure 9(b)                                       17,20
Rule 15                                                                       10




I444671vl - V026S.00001 Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                         Page 6 of 25 PageID 3540


         Defendants, Leslie A. Wulf("Wulf), Bruce A. Hail ("Hall"), John E. Rea ("Ted Rea"),

and James Rea ("James Rea")(collectively "Founder Defendants"), pursuant to Fed. R. Civ. P.

15(a), and file this Response ("Response") to Plaintiff VeroBlue Farms USA, Inc.'s ("VBF")

Motion for Leave to Amend its Amended Complaint("Motion for Leave"). In further support of

this Response, Founder Defendants state:

                                              I.        INTRODUCTION


         Plaintiff seeks leave to file a Second Amended Complaint ("SAC"), not because it has

discovered additional information about Founder Defendants' actions as officers of VBF, but to

further the campaign of its formerly-majority, now-sole shareholder. Alder Aqua, Ltd., to punish

Founder Defendants and anyone else who questioned its control and direction of VBF.' VBF

seeks to double the number ofclaims against Founder Defendants,adding the following 11 claims

against them to the 9 previously pled:

        (1)       Uniform Voidable Transfer Act(Iowa Code § 684.4(l)(a);

        (2)       Uniform Voidable Transfer Act(Iowa Code § 684.4(1)(b);

        (3)       Actual Fraudulent Transfer(Tex. Bu.& Comm. Code § 24.005(a)(1);

        (4)       Constructive Fraudulent Transfer(Tex. Bu.& Comm.Code § 24.005(a)(2);

        (5)       Rescission - Termination Agreements, Selective Provisions and Declaratory
                  Judgment;

        (6)       Declaratory Judgment-James Rea;

        (7)       Rescission-Employment Agreement-James Rea;

        (8)       Rescission- Separation Agreement- Wulf;

        (9)       Declaratory Judgment- Separation Agreement- Wulf;


^ VBF filed for bankruptcy under Chapter 11 on September 21,2018. Alder Aqua, Ltd.("Alder") was the majority
shareholder of VBF,and then the sole sponsor of VBF's Reorganization Plan. This Plan was confirmed on May 7,
2019. Alder is now the sole shareholder of VBF and directs its actions, including this litigation.

                                                          6
1444671 vl • V026S.OOOOI Resp to VBF Mot_Amend (Hnal)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                    Page 7 of 25 PageID 3541


        (10)      Restitution; and

        (11)      Violations of Racketeer Influenced and Corrupt Organizations Act (RICO)(18
         U.S.C. § 1962(c)).

         Via the SAC, VBF also seeks to bring in one of Founder Defendants' attorneys (Sean

Maniaci), their investment advisor (Canaccord), Mr. Wulfs daughter (Christine Gagne), and

accuse a reputable Texas law firm of being complicit in Founder Defendants' racketeering

(Jackson Walker). VBF's damages prayer has ballooned from approximately $5M in its

Complaint to over $90,000,000 now. The Court must reign in this scorched earth campaign, as

many of these claims cannot be pursued by VBF and would substantially prejudice Founder

Defendants.


         Allowing VBF's proposed SAC would substantially prejudice Founder Defendants,in part

because VBF executed a release ofDefendants Hall and Ted Rea from any liability stemming from

alleged actions or inactions taken while they were officers of VBF. The Chief Judge ofthe U.S.

District Court for the Northern District ofIowa already found that the agreements which contained

these releases were enforceable, and in fact, ordered transfer of this case from the Iowa District

Court to this District based on those very same agreements. It would be futile to permit VBF to

add claims against Hall and Ted Rea considering these agreements and the prior rulings in this

case.



         Similarly, it would be futile to permit VBF to amend its Complaint to add a woefully

inadequate RICO claim. The proposed RICO claim is inadequate on three levels. First, Plaintiff

fails to meet Rule 9(b)'s pleading requirements for any of its predicate acts as the SAC is

completely lacking in specific allegations regarding the"who,what, when, where, how,and why"

ofthe allegations of mail fi-aud and wire fi-aud. Also,Plaintifffails to establish a pattern ofactivity

because it does not plead predicate acts that "amount to or pose a threat of continued criminal


                                                        7
I44467IVI • V026S.00001 Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                       Page 8 of 25 PageID 3542


activity." Finally,the SAC fails to distinguish between the RICO persons and the RICO enterprise,

alleging that VBF is simultaneously the RICO enterprise and the victim of racketeering. Leave

should not be granted to VBF to re-characterize transactions between sophisticated business parties

as involving fraud and illicit activity. For these and the other reasons set out below, the Court

should deny the Motion for Leave.

                                         II.      STATEMENT OF FACTS


         Founder Defendants were the founders, minority shareholders, directors, and officers of

VBF, a sustainable fish farming business.(CompL,             4-7.) After establishing VBF in October

2014, Wulf served as Chief Executive Officer; Hall served as Chief Financial Officer; Ted Rea

served as Chief Operating Officer; and James Rea served as Director of Construction, Design and

Tank Production, each from October 2014 until late 2017 - early 2018. {Id.,           4-7.)

         In July 2016, each Defendant entered into an Employment Agreement with VBF that

govemed the terms of his employment and any eventual termination from VBF.^ In late 2017,

Wulf, Hall, and Ted Rea were all terminated by VBF without cause, and executed separate

agreements(as to Ted Rea and Hall, the "Termination Agreements," as to Wulf, the "Separation

Agreement") to that effect.^ Hall's and Ted Rea's Termination Agreements contain release

provisions, which provide, in part:

              the Company,on its own behalfand on behalfofthe other Company Releasees,
              hereby irrevocably and unconditionally release, acquit and forever discharee
              the fPefendantl Releasers from am and all charees. complaints, claims.
             liabilities, obligations, promises, agreements, controversies, damaees. actions,
             causes of action, suits, rights, demands, costs, losses, debts and expenses
             (including attorneys' fees and costs actually incurred), of any nature

^ A copy ofJames Rea's Employment Agreements is attached to Defendants' Answer, Affirmative Defenses and
Third-Party Claims(Dkt. No.66)as Exhibit A. The other Defendants' Employment Agreements are substantially
the same.


^These Termination Agreements and WulPs Separation Agreements are attached to Defendants' Answer,
Affirmative Defenses and Third-Party Claims(Dkt. No.66)as Exhibits B,C,and D. Hall's and Ted Rea's
Termination Agreements are again attached for reference here as Exhibits 1 and 2.

                                                        8
1444671vl • V026S.00O0I Resp to VBF Mot_Amend (final)
  Case 3:19-cv-00764-X Document 122 Filed 06/14/19                           Page 9 of 25 PageID 3543


              whatsoever, known or unknown ... which the Company Releasees now have,
              own, hold, or to which the Company Releasees at any time heretofore had,
              owned or held against each ofthe [Defendant] Releasers.

(Term. Ags., Ans., Dkt. No.66, Exs. C,D,^ 4(b)(emphasis supplied)).

         On July 31, 2018, Plaintiff filed this lawsuit in the U.S. District Court for the Northern

District of Iowa, and purposefully omitted any reference to the Termination Agreements. These

agreements not only contained the above-quoted releases, but also contained forum selection

provisions naming the Northern District of Texas as the agreed forum for disputes. Founder

Defendants immediately moved to transfer this suit to the Northem District ofTexas,in accordance

with these forum selection provisions. Chief Judge Leonard Strand of the Northem District of

Iowa granted the Motion to Transfer,finding that the forum selection provisions ofthe Termination

Agreements were enforceable, not obtained by fraud, and directed this matter to proceed in the

Northem District of Texas.^

         PlaintifTs amended claims squarely address actions Foimder Defendants allegedly took,or

failed to take, while employed by and as officers of VBF.                   Any claims related to Founder

Defendants' actions as officers and employees of VBF are govemed by their Employment

Agreements,and, as to Hall and Ted Rea, were released pursuant to the Termination Agreements.

VBF's other new claims: including over 150 paragraphs offactual allegations, all relate to actions

that Founder Defendants took in connection with soliciting investments in VBF almost five years

ago. This information is not new, it is just being raised now that Alder has taken sole control of

VBF through bankmptcy. And despite the sheer volume of allegations, the SAC completely fails

to sufficiently recharacterize Founder Defendants' actions as an illicit racketeering enterprise to

support a civil RICO claim. This Court should not permit VBF to amend its complaint, broaden


* A copy ofthe ChiefJudge Leonard Strand's March 27,2019 Order Granting Transfer(Dkt. No.50)("March 27,
2019 Order")is attached hereto as Exhibit 3 and incorporated herein by reference.


I444671vl •V0265.00001 Resp to VBF Mot_Aiiicnd (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                    Page 10 of 25 PageID 3544


the scope of discovery and allegations by another two years, and turn this matter into a quasi-

criminal action on behalfofa disgruntled investor. Plaintiffshould not be granted leave to amend

and this case and should proceed on the initial claims pled.

                                  III.      ARGUMENTS AND AUTHORITIES

         "Although Rule 15 ... prescribes a liberal standard for the amendment ofpleadings, leave

to amend is by no means automatic." Hack v. Executive Flight, Inc., 1998 WL 460294 at *1 (N.D.

Tex. 1998)(citing Matter ofSouthmark Corp.,88 F.3d 311,314(5th Cir. 1996), cert, denied, 117

S.Ct. 686 (1997); Little v. Liquid Air Corp., 37 F.2d 1069, 1074 n.8 (5th Cir. 1994)(en banc)).

Rather, leave to amend remains within the discretion of the district court. Id. The Court should

consider: "(1) undue delay, bad faith, or dilatory motive on the part of the movant;(2) undue

prejudice to the opposing party; and (31 futility of the amendment" Wildridge v. lER, Inc., 65

F.Supp.2d429,430(N.D. Tex. 1999)(emphasis added)(citing Wimm v. JackEckerdCorp.,3 F.3d

137,139(5th Cir. 1993)).

         A. VBF Released All Claims against Hall and Ted Rea in the Termination
            Agreements,thus the Claims Alleged Against them in the SAC are Futile(Counts
           I-XDO.


         VBF should not be permitted to add claims against Hall and Ted Rea that are futile,

specifically when VBF has broadly released both individuals. While courts are lenient in

permitting amendments, such an amendment may be denied where that amendment would be

futile. See Thomas v. Chevron U.S.A., Inc., 832 F.3d 586, 592(5th Cir. 2016). An amendment is

futile if"the theory presented in the amendment lacks legal foundation." Id. at 591. The test for

determining futility is the same one applied imder Rule 12(b)(6), that is, whether the pleading

contains "sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on

its face." Id. at 592(quoting Ashcroft v. Iqbal, 556 U.S. 662,678 (2009)). Here, the releases are



                                                         10
1444671 vl - V0265.0000I Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                   Page 11 of 25 PageID 3545


broad and encompass all claims, even future ones. Although VBF has attempted to plead

fraudulent inducement to avoid these releases,as the Iowa District Court previously alluded to,the

facts as plead belie such a finding, and the agreements and their releases must be enforced.

                   1. The Releases Contained in Ted Rea's and Hall's Termination Agreements
                      Encompass VBF's Claims Against Them.

         All of Plaintiffs' pending 9 claims against Founder Defendants for fraud, breach of

fiduciary duty, conspiracy, and others, as well as its proposed claims for Uniform Voidable

Transfer Act under Iowa statute[Counts V and VI]; Fraudulent Transfer under Tex. Bus.& Comm.

Code § 24.005 [Counts VII and VIII]; Rescission - Termination Agreements [Count XIV];

Declaratory Judgment [Count XIII]; Restitution [Count XIX]; and Violations of Racketeer

Influenced and Corrupt Organizations Act(RICO)(18 U.S.C. § 1962(c))[Count XXVII], have

been released in Hall and Ted Rea's Termination Agreements. There, VBF agreed to:

              hereby irrevocably and unconditionally release, acquit and forever discharge
              the [Defendant] Releasers from any and all charees. complainis. claims,
              liabilities, obligations, promises, agreements, controversies, damaees. actions,
              causes of action, suits, rights, demands, costs, losses, debts and expenses
             (including attorneys' fees and costs actually incurred), of any nature
              whatsoever, known or unknown...


(Term. Ags. Exs. 1, 2, 4(b)(emphasis supplied).) Accordingly, any cause of action brought

against Hall or Ted Rea is futile on its face,as VBF has released both Defendants"irrevocably and

unconditionally" from "any and all ... causes of action ... of any nature whatsoever, known or

unknown".


         Releases are subject to the usual rules of contract construction. Baty v. ProTech Ins.

Agency, 63.S.W.3d 841, 848 (Tex.App.—^Houston [14"' Dist.] 2001, pet. denied). A release of

claims operates to discharge the released parties from these claims and to extinguish these claims

against the released parties as effectively as would a prior judgment between the parties. See El



                                                        11
1444671vl - V026S.00O0I Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                Page 12 of 25 PageID 3546


Paso Natural Gas Co. v. Minco Oil & Gas, Inc., 8, S.W.3d 309, 314 n, 15 (Tex. 1999); Dresser

Indus. V. Page Petroleum, 853 S.W.2d 505,508(Tex. 1993). Therefore, a release of a claim is an

absolute bar to any right of action by the releasing party on the claim. See Dresser Indus., 853

S.W.2d at 508. Although a "release must'mention' the claim to be effective" the parties need not

"anticipate and identify each potential cause of action relating to the release's subject matter."

Keck, Mahin & Gate v. Nat'I Union Fire Ins. Co.,20 S.W.3d 692,698(Tex. 2000).

         The releases present in Hall and Ted Rea's Termination Agreements do include a laundry

list of claims, including age discrimination, ERJSA, Title VII, regulatory violations, wage and

salary violations. But that clause also specifically releases any agreements, arrangements, or

understandings that the parties may have had "for anything occurring prior to" Defendants'

termination. (Term. Ags., Exs. § 4(a)(emphasis supplied).) The releases, then, are not expressly

limited to a specific claim or transaction, but rather purport to cover "any and all... causes of

action ...ofany nature whatsoever,known or unknown,""irrevocably and unconditionally." No

Texas law prohibits such broad form release. Victoria Bank and Trust Co. v. Brady, 811 S.W.2d

931(Tex. 1991). Although,releases generally contemplate claims existing at the time ofexecution,

a valid release may also encompass unknown claims and future damages. Id at 698. The lump

sum payments that VBF made to Hall and Ted Rea in consideration for their mutual releases and

separation form the company evidence that these releases were intended to be broad and forward

looking. There is no way to read the releases in the Termination Agreement, except to extend to

all claims,"known or unknown," as encompassing both existing and future claims.

                  2. VBF Has Not and Cannot Sufficientlv Allege Fraudulent Inducement to Avoid
                     the Releases.

         Once Founder Defendants placed the Termination Agreements, including their broad

releases and forum selection provisions, before the Iowa District Court, VBF argued the


                                                        12
I44467lvl -VQ26S.0000I Resp to VBF Mot_Ainend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                            Page 13 of 25 PageID 3547


Termination Agreements were procured by fraud. VBF raised many of the same allegations it

brings in the SAC to attempt to void these agreements as fraudulently induced, including: that

VBF was not yet aware of Founder Defendants "bad acts" (SAC,                        216, 225 compare to VBF

Resp. to Motion to Transfer, Dkt.No.25, pp.5,10-12)and that Founder Defendants were on both

sides of these agreements.(SAC,                213, 225 compare to Dkt No. 25, pp. 10-12). These facts

alone do not allege fraud enough to ignore the clear, broad releases of Hall and Ted Rea.

         Perhaps most curious is VBF's allegation that it"knew ofno separate counsel representing

Ted Rea as to [his] Termination Agreement or Hall as to [his] Termination Agreement."(SAC,1}

213.) Founder Defendants' current coimsel in this litigation, Kimberly Annello, represented the

Defendants in connection with the Termination and Separation Agreements, adverse to both

Jackson Walker and the Denver law firm of Davis Brown & Stubbs, who is believed to be Alder's

counsel, but who also reviewed and consulted with VBF on the Termination and Separation

Agreements.® VBF's attorneys who filed the initial Complaint in this matter,(a separate Davis

Brown Law Firm of Des Moines,Iowa)corresponded with Ms. Annello about Defendant Wulfs

purported breach of his Separation Agreement and James Rea's purported termination for

"egregious cause" in early 2018, long before this case was filed.                          And Ms. Annello's

correspondence with Jackson Walker and Davis Brown (of Denver) related to the Termination

Agreements, some of which was contentious, was produced to VBF in discovery in this case on

April 30, 2019, before the SAC was filed. But most importantly, this fact regarding Founder

Defendants' separate representation was part of the basis for the Iowa's District Court's order

enforcing the forum selection provisions of the Termination Agreements:"The parties appeared

to have relatively the same experience and sophistication in negotiations of the Termination



® This fact was set forth in Defendants' Reply in Support oftheir Motion to Transfer[Dkt. No. 30], p.2 n. 5.

                                                        13
1444671vl -V0265.0000I Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                Page 14 of 25 PageID 3548


Agreement and each were represented by counsel." (March 27, 2019 Order, Ex. 3, p. 13, n. 3

(emphasis supplied).)

         The Iowa District Court was already presented with the question of whether the forum

selection provisions in the Termination Agreements were procured by fraud. The Court not only

found that VBF did not establish that those specific provisions were not procured by fraud, but

went farther to find:

         1) "VeroBIue's claims arise under ihe Termination Agreements"(March 27,2019 Order,

             Ex. 3, p. 10); and

         2) "VeroBlue has not set forth any facts to suggest discovery would reveal the forum
            selection clauses or the Termination Agreements werefraudulently procured.(Id, p.
            14, n.4(emphasis supplied).)


Although the Iowa District Court also noted that VBF had not plead fraudulent inducement ofthe

Termination Agreements or attempted to rescind them, those facts were not the primary basis of

its holding. If the Iowa District Court found that the Termination Agreements governed VBF's

claims such that the forum selection provision should apply, then the other provisions of those

agreements,including the releases, should also apply. VBF has mischaracterized the facts already

presented to and ruled upon by the Iowa District Court to undo this ruling and avoid the clear and

broad releases that VBF(and its counsel) negotiated.

         This case is squarely on point with Schlumberger Technology Corp. v. Swanson, 959

S.W.2d 171 (Tex. 1997). There,the Texas Supreme Court found that a release executed as part of

a settlement barred one of the party's later claim to rescind the settlement based on fraud. The

basis ofthat holding is whether the release negates the element ofreliance in a suit for fraudulent

inducement. Id at 179. The Court further held that "parties should be able to bargain for and

execute a release barring all further dispute...." The Court noted other factor relevant to its


                                                        14
I44467IV1 •V026S.00001 Resp to VBF Mot_Ainend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                          Page 15 of 25 PageID 3549


enforcement: the parties executed the agreements to end their "deal" and resolve a dispute

regarding the project at issue, both were represented by highly competent legal counsel,they dealt

at arm's length, and both were "knowledgeable and sophisticated business players." Id. at 180.

         Here, Hall's and Ted Rea's Termination Agreements were executed to end the deal both

had with VBF (i.e. their employment) and resolved disputes regarding their operation and

performance as officers of VBF.{See Term. Ags., Exs. 1,2,Recital 4:"Whereas the parties desire

to terminate their business relationship and to resolve any claims they may have against each

other[.]") These were both sophisticated parties(Alder is an offshore entity owned by a wealthy

Swiss family's investment office), separately represented by counsel(in VBF's case, represented

by multiple sets of counsel). By including the terms "irrevocably," "unconditionally," and the

phrase "of any nature whatsoever, known or unknown," Plaintiff has effectively disclaimed

reliance on any representations made by Defendants Hall and Ted Rea that could support a

fraudulent inducement or rescission claim. Plaintiff hopes to avoid this by adding the allegations

that it "did not know nor could it have known" ofthe Foimder Defendants' misconduct when the

Termination Agreements were executed. (SAC,                 20,22.) But VBF also alleges"By late 2017,

with mounting losses, the disinterested VBF directors recommended that Hal and Ted Rea be

fired." (SAC, 211.)^ By VBF's own allegations, they knew of sufficient misconduct to justify

terminating Hall and Ted Rea, but still agreed to release them from "a/iy and all claims, whether

known or unknown"in the Termination Agreements.'




® This is contrary to the terms ofthe Termination Agreements, which provide that both Hall and Ted Rea would
resign their positions and be paid the amounts due to them under the Employment Agreements for termination
without cause. (Term.Ag., Exs. 1,2, 1(b), 5(a).)

^ WulPs Separation Agreement executed only one month later, although purportedly part ofthe "unraveling" of
Founder Defendants' fraud(SAC,^ 57)notably did not include mutual releases.

                                                       15
I444671vl .V026S.00001 Resp to VBF Mot_Amcnd (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                  Page 16 of 25 PageID 3550


         Allowing Plaintiff to rescind the Termination Agreements by making the argument that

they "did not know" of Defendants' misconduct is anathema to the standards goveming the

construction ofcontracts. Both Hall and Ted Rea have been unequivocally released from any and

all claims that could be brought by VBF. As such, VBF's proposed new claims against Hall and

Ted Rea would be futile and this Court should not permit amendment ofthese claims.

         B. Plaintiff Cannot Adequately Plead A Civil RICO Claim,Rendering That Portion
              of Its Amendment Futile.


         Plaintiffs attempt to add a cause of action under the Racketeer Influenced and Corrupt

Organizations Act ("RICO"), 18 U.S.C. § 1961(3), in the SAC is futile because it fails to

adequately allege: (1)racketeering activity, i.e. predicate acts of wire or mail fraud;(2)a pattern

of activity; or(3)the existence of a RICO enterprise.

         Initially it must be noted that the purpose ofthe civil RICO statute was to empower"private

attorneys' general" to address the harm ofracketeering that may be dispersed among the public at

large; it was not merely to provide compensation for individual victims. Gentry v. Resolution Trust

Co., 937 F.2d 889,912(3rd Cir. 1991). The gist of Plaintiffs RICO claim is that VBF is a RICO

enterprise that was controlled by Founder Defendants as part oftheir"scheme to loot and de&aud

VBF."(SAC, Tl 402). To allege this type of RICO violation "requires (1) conduct (2) of an

enterprise (3)through a pattern (4) of racketeering activity." Montesano v. Seqfirst Commercial

Corp., 818 F.2d 423, 424 (5th Cir. 1987). Plaintiffs RICO claim is woefully inadequate on its

face, and Defendants should not be granted leave to include this claim and send both the parties

and this Court down a long and expensive path of discovery on attempt to paint what could be

addressed by the pending fraud and breach offiduciary claims into a quasi-criminal investigation.

                  1. Plaintiff fails to allege any predicate acts of mail or wire fraud with the
                     requisite specificity.



                                                        16
1444671 vl •V0265.00001 Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                             Page 17 of 25 PageID 3551


         All the predicate acts Plaintiffseeks to allege sound in fraud and,therefore,must be pleaded

with particularity imder Federal Rule of Civil Procedure 9(b). {See SAC H 411 (claiming all

Predicate Acts constitute mail or wire fraud)); TransFirst Holdings, Inc. v. Phillips, 2007 WL

1468553, at *2(N.D. Tex. May 18,2007). RICO mail fraud requires a showing of:"(1)a scheme

to defraud by means of false or fraudulent representation,(2) interstate or intrastate use of the

mails to execute the scheme,(3)the use ofthe mails by the defendant connected with scheme [sic],

and (4)actual injury to the plaintiff." In re Burzynski,989 F.2d 733,742(5th Cir.1993)(citation

omitted). RICO wire fraud requires a showing of essentially the same elements, except the

conununication must be interstate. Carpenter v. United States,484 U.S. 19,25 n.6(1987);Smith

V. Ayres, 845 F.2d 1360, 1366 (5th Cir. 1988). Accordingly, any complaint must specify "how

each act of mail or wire fraud furthered the fraudulent scheme, who caused what to be mailed or

wired when,and how the mailing or wiring furthered the fraudulent scheme." Sharifv. Wellness

Int'l Network, Ltd., 2007 WL 9711726, at *7 (N.D. Tex. May 9, 2007)(emphasis in original);

Williams V. WMX Techs., Inc., 112 F.3d 175, 177 (5th Cir. 1997) ("Pleading fraud with

particularity in this circuit requires 'time, place and contents of the false representations, as well

as the identity of the person making the misrepresentation and what [that person] obtained

thereby.'")-*
         Here, Plaintiff fails to meet Rule 9(b)'s pleading requirements for any of its predicate acts

as the SAC is completely lacking in specific allegations regarding the "who, what, when, where.




* Additionally, Plaintiffs "allegations must 'inform each defendant of the nature of his alleged participation in the
fraud.'" Id. at *1 (citing DiVittorio v. Equidyne Extractive Indus., Inc., 822 F.2d 1242, 1247(2nd Cir. 1987)). In
other words, the Court must reject Plaintiff's attempt to "'attribute vaguely the alleged fraudulent activity to the
[Founder Defendants]collectively.'" Sharif,2007 WL 9711726, at *7(citing Mills v. Polar Molecular Corp., 12 F.3d
1170,1175(2nd Cir. 1993)); FMCInt'l A.G. v. ABB Lummus Glob., Inc., 2006 WL 213948, at *4(S.D. Tex. Jan. 25,
2006)(same).

                                                        17
I44467lvl -VO26S.OO0OI Rcsp to VBF Mot_Amend (final)
   Case 3:19-cv-00764-X Document 122 Filed 06/14/19                                Page 18 of 25 PageID 3552


  how,and why" ofthe allegations of mail fraud and wire fraud. Hawkins v. Hutchison, 2007 WL

  9758161,at *4(N.D. Tex. May 10,2007),affd,211F. App'x 518(5th Cir. 2008).

           First, Plaintiffs vague allegations that Founder Defendants were "involve[d] in other

  businesses while at VBF"and "distributed marketing materials, contracts, e-mail communications,

  and other documents containing material misrepresentations related to the business Metrics,

  technology, and finances of VBF that were transmitted by mail and wire in interstate commerce,"

  vsdthout more detail as to who, when, or how such materials were transmitted is insufficient to

  plead wire or mail fraud.(SAC TI411-12;see Paul v. Aviva Life & Annuity Co.,2010 WL 5105925,

  at *5(N.D. Tex. Dec. 14,2010)(holding that allegations in complaint failed to provide sufficient

  detail when allegations stated that "false and misleading [documents] were prepared and

  disseminated directly by [Defendant] and/or its agents using the U.S. mails or >vires in interstate

  commerce and induced Plaintiffs and those they seek to represent to purchase [Defendant's] life

  insurance policies").)'

           Second, when describing various excel or PowerPoint files self-styled as"representations,"

  Plaintiff fails to include any allegations regarding the "who, what, when, where, how, and why"

  these files were commimicated through either interstate or intrastate mail or wires. Plaintiff tries

  to avoid its pleading requirements by using misleading defined terms that imply a document was

  communicated on a certain date. However,Plaintifffails to include any specificity regarding who

  transmitted those documents, much less the time or place of any such statements. See Havard,



'Plaintiff inaccurately alleges that payments made to Christine Gagne can constitute a predicate act of wire fiaud.
 (SAC ^411(a)). A critical element ofwire fiaud is that the use ofthe wire must be interstate. See Walsh v. America's
  Tele-Network Corp., 195 F. Supp.2d 840,846(E.D. Tex.2002)(citing Smith v. Ayres,845 F.2d at 1366); TransFirst
  Holdings, Inc., 2007 WL 1468553, at *5. However, Plaintiff fails to allege that any wire transfers to Gagne were
  interstate and, therefore, compensation sent to Gagne cannot constitute a predicate act. See e.g., Havard v. Collins,
  2013 WL 12363628,at *4(N.D.Tex. Aug.21,2013)(rejecting wire fiaud claim as a predicate act where the complaint
  failed to "assert facts or even conclusions alleging that the phone calls and emails in question used interstate wires.").
  Furthermore, Plaintiff foils to provide any details regarding the timing ofsuch payments.

                                                             18
  1444671vl -V0265.0000I Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                             Page 19 of 25 PageID 3553


2013 WL 12363628, at *3 (holding plaintiffs failed to allege predicate acts of mail fraud where

plaintiffs had not "alleged the time,the place, or the person making any false representations").

         A particularly egregious example is Plaintiffs labeling of an excel file as "June 2014

Written Representations." Although Plaintiff alleges that the file was subsequently shared with

investors, it provides no information as to when, where,or how the file was shared beyond stating

that an individual defendant first created the document on June 25, 2014—^months before VBF

ever existed or any of the Founder Defendants became involved with VBF. (See SAC                             9, 18,

95).'" Without any allegations regarding time, place, or person communicating the excel file,

Plaintiff has not adequately alleged the Jime 2014 Written Representations is a predicate act of

mail or wire fraud.

        Plaintiffs remaining allegations regarding the delineated predicate acts suffer from similar

deficiencies.(See SACf 41 l(b)-(h)). For example,although Plaintiff makes allegations, primarily

upon information and belief, that certain documents were shared with individuals other than

Founding Defendants—including the May 2015 Written Representations(SAC ^ 166-7),the July

2015 Fisheries Report(SAC Tj 100-1), the November 2015 Written Representations(SAC H 110),

the January 2016 Written Representations (SAC ^ 128), and the April 2016 Written

Representations (SAC If 131)—^Plaintiff provides no specific information as to when those

documents were shared, by whom they were shared, or who received copies of the documents.

Without this critical information, Plaintiff cannot adequately allege predicate acts of wire or mail

fraud occurred and, therefore, any attempt to amend the complaint is futile and must be rejected.

See, e.g., Stanissis v. Dyncorp Int'l LLC, 2015 WL 1931417, at *6 (N.D. Tex. Apr. 29, 2015)




  The Court should certainly reject any proposal by Plaintiff to assume that documents were communicated on or
around the time they were drafted. This is particularly true where the document was created months before the alleged
enterprise even existed. (See SAC H 18(VBF incorporated by Founders on September 5,2014)).

                                                        19
1444671vl -VOadS.OOOOl Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                     Page 20 of 25 PageID 3554


(rejecting allegations of mail and wire fraud that did not specify when, where, or by whom the

representations were made); Moore v. Town N. Auto, Inc., 2014 WL 3396100, at *4(N.D. Tex.

July 11, 2014) (holding that plaintiff did not meet Rule 9(b) requirements where he alleged

misrepresentations, but did not specify other particulars required by Rule 9(b), such as which

defendants made representations, when representations were made,and in what context they were

made); Shakeri v. ADT Sec. Servs., Inc., 2013 WL 6498268, at *3 (N.D. Tex. Dec.11, 2013)

(same); cf. BenchmarkElecs.,Inc. v. J.M. Huber Corp.,343 F.3d 719,724(5th Cir. 2003)(holding

that plaintiff satisfied Rule 9(b) where it alleged specifically who made misrepresentations, when

they made them,and what they said).

                  2. Plaintiff fails to adequately allege a pattern of activity.

         Plaintifffails to establish a pattern of activity because it does not plead predicate acts that

"amoimt to or pose a threat of continued criminal activity." H.J., Inc. v. Nw. Bell Tel. Co., 492

U.S. 229, 239 (1989). Continuity can take one of two forms—either "closed-ended" or "open-

ended." Id. Here, Plaintiff admits that Defendants "exercised continuous authority over the

Enterprise on an ongoing basis, up through and including November 2017."|
                                                                        (SAC, 422).

Defendants,as acknowledged by Plaintiff, no longer have any modicum ofcontrol over VBF and,

therefore, any alleged conduct cannot be grounds for establishing "open-ended continuity." See

e.g., Havard,2013 WL 12363628,at *4(finding plaintiffs failed to adequately plead open-ended

continuity where "[n]o facts in the complaint suggest that there is a plausible threat ofrepetition,

not least because [defendant] is apparently no longer associated with" the RICO enterprise);

Walker v. AllianzLife Ins. Co. ofN. Am.,2009 WL 1883418, at *5(N.D. Tex. June 30,2009).

         Plaintiff cannot establish closed-ended continuity either. Although Plaintiff alleges that

Founder Defendants executed unlawful racketeering activity between September 5,2014 and the

present, the SAC only defrnes certain activity as wire or mail fraud sufficient to constitute a

                                                       20
1444671vl -V0265.00001 Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                            Page 21 of 25 PageID 3555


"predicate act" ofracketeering activity. (See SAC H 411.) However, any predicate acts not plead

with particularity cannot be used to establish continuity. See Clapper v. Am. Realty Inv'rs, Inc.,

2016 WL 302313, at *9, n. 14(N.D. Tex. Jan. 25, 2016)(refusing to consider predicate acts for

purposes of continuity analysis where plaintiff failed to describe what defendant committed the

predicate act or when such act occurred); see also Spool v. World Child Int'l Adoption Agency,

520 F.3d 178,184-85(2d Cir. 2008); First Capital Asset Mgmt., Inc. v. Satinwood, Inc.,385 F.3d

159,180-81(2d Cir. 2004). As discussed in Section B. 1 above,none ofthe alleged predicate acts

were plead with sufficient particularity and should,therefore, be disregarded.

         Nevertheless, should the Court find that certain ofthe predicate acts described were plead

with sufficient particularity given their defined terms—^which the Court should not—the alleged

misrepresentations occurred at best between May 2015 and April 2016, a period of only eleven

months." Close-ended continuity requires "predicate acts that extend over a 'substantial period of

time.'" Malvino v. Delluniversita,840 F.3d 223,232(5th Cir. 2016). Acts occurring over a period

ofless than one year cannot constitute closed-ended continuity. See e.g., Tel-phonic Services, Inc.

V. TBS Int'l, Inc., 975 F.2d 1134, 1140(5th Cir. 1992); contrast United States v. Bustamante,45

F.3d 933,941-42(5th Cir. 1995)(racketeering acts extending nearly four years suffice); see also

Jackson v. BellSouth Telecommunications, 372 F.3d 1250, 1266-67 (11th Cir. 2004) (citing

multiple circuit court cases holding that closed-end continuity is not established where predicate

acts occur over a period of less than one year). Thus, even assuming that Plaintiff adequately

pleads the written representations were predicate acts. Plaintifffails to plead a pattern ofsuch acts.




"Even ifthe Court considers some ofthe alleged predicate acts in its analysis, any use ofa date in June 2014 for the
June 2014 Written Representations must be disregarded because VBF did not exist until September 5,2014, and the
aquaculture business that is the subject ofthe SAC was not sold to VBF until December 31,2014.(See SAC H 18.)

                                                          21
1444671 vl -VOieS.OOOOl Resp to VBF Mot_Aineiid (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                         Page 22 of 25 PageID 3556


         Additionally, the alleged predicate acts were all part of a single, allegedly lawful

endeavor—^the collection offunds necessary to run VBF—^and therefore cannot"amount to or pose

a threat of continued criminal activity." See Ginsburg v. ICC Holdings, LLC,2017 WL 5467688,

at *22(N.D. Tex. Nov. 13,2017)(rejecting RICO claim where the alleged acts offraud were all

part ofa single endeavor);Abraham v. Singh,480 F.3d 351,355(5th Cir. 2007)(same); Acosta v.

Insignia Energy Grp., Inc., 2014 WL 5295320,at *5(N.D. Tex. Oct. 16,2014)(same).

                  3. Plaintifffails to adequately plead the existence of a RICO Enterprise.

        In order to plead a cognizable RICO claim. Plaintiff must also plead the existence of an

enterprise, which may be a legal entity or a non-legal entity that is a "group of individuals

associated in fact." 18 U.S.C. § 1962(c),(d); § 1961(4); United States v. Phillips, 664 F.2d 971,

1013 (5th Cir. 1981). Here, Plaintiff alleges two separate "enterprises:"(1)Founder Defendants,

and (2)VBF.{See SAC              402-3.)Plaintiffs RICO claim fails under both theories.

         First, Plaintiffs conclusory allegations of personal relationships between Founder

Defendants is insufGcient to establish an enterprise based on an association in fact theory.'^(SAC

^ 403.) An association in fact enterprise may consist of a collection of individuals not formally

boimd together as a legal entity so long as there is"a purpose,relationships among those associated

with the enterprise, and longevity sufficient to permit these associates to pursue the enterprise's

purpose." Boyle v. United States, 556 U.S.938(2009). Accordingly,to establish an association in

fact enterprise a plaintiff must show evidence of"an ongoing organization, formal or informal,

that functions as a continuing imit over time through a hierarchical or consensual decision-making

structure.".(4/A//WO/7 v. Anadarko Bank and Trust Co.,808 F.2d 438,440-41 (5th Cir.)(per curiam).



  The SAC must plead facts, not mere conclusions, to state a plausible claim. See e.g.. Null v. Easiey, 2009 WL
3853765, at *5(N.D.Tex. Nov. 18,2009)(dismissing where complaint lacked facts showing, inter alia, existence of
decision making structure); Oblio Telecom, Inc. v. Patel,2009 WL 1650481,at *4(N.D. Tex. June 10,2009)(same);
Havard,2013 WL 12363628,at *5.

                                                       22
144467^1 - V0265.00001 Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                  Page 23 of 25 PageID 3557


cert, denied, 483 U.S. 1032(1987); Delta Truck & Tractor, Inc. v. J.I. Case, 855 F.2d 241, 243

(5th Cir. 1988); Crowe v. Henry,43 F.3d 198,205(5th Cir. 1995).

         Importantly, the fact that "officers or employees of a corporation, in the course of their

employment,associate to commit predicate acts does not establish an association-in-fact enterprise

distinct from the corporation." Whelan v. Winchester Prod. Co.,319 F.3d 225,229(5th Cir.2003);

Elliot V. Foufas, 867 F.2d 877, 881 (5th Cir. 1989); Sharif, 2007 WL 9711726, at *8; Atkinson,

808 F.2dat441.

         Here, Plaintiff alleges Defendants "have been associated in fact outside of VBF,and have

functioned outside of VBF in an organized fashion, having a joint purpose of acting together for

each other's benefit in VBF and other businesses... and the [Defendants] have therefore had

business and, upon information and belief, personal relationships with each other outside of VBF

over an extended period oftime."(SAC H 403.) This is the only portion ofthe SAC addressing an

association in fact; thus, it appears Plaintiff contends that Founder Defendants' "personal

relationships""outside of VBF",generally, constitute an "enterprise" under RICO.

         This loose interpretation is not support by any case precedent, and in fact, would subject

virtually any start up business enterprise among fiiends or colleagues to RICO liability. See

Whelan,319 F.3d at 230("Company officers and employees not associated other than through the

activities ofthe company do not constitute an enterprise for purposes of§ 1962(c)."). Even ifthe

Court were inclined to infer that Defendants had a common purpose in forming an enterprise, the

SAC does not allege that they maintained the necessary relationships among themselves to give

their purported association any structure. One need only note how far removed the allegations in

this case are from those in Boyle to see how the evidence of"pattern" in that case could suffice




                                                        23
1444671 vl .V0265.00001 Resp to VBF Mot.Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                    Page 24 of 25 PageID 3558


(dozens of coordinated bank robberies involving a core, though informally organized group of

participants sharing proceeds over the course ofa decade) where the allegations here do not.

         Second,Plaintiffs allegations that VBF was the victim corporation drained ofits assets by

Founder Defendants preclude VBF from being the enterprise through which the unlawful pattem

of activity is committed. See Nat'l Org.for Women, Inc. v. Scheidler, 510 U.S. 249, 259(1994)

(the "enterprise" in subsection (c) connotes generally the vehicle through which the unlawful

pattem ofracketeering activity is committed,rather than the victim ofthat activity);see e.g., Flood

V. Makowski, 2004 WL 1908221, at *7 (M.D. Pa. Aug. 24, 2004)("in instances in which the

racketeering activity is committed by people within the company and the victim ofthe racketeering

activity is the corporation, the enterprise is not the corporation itself; an association-in-fact ofthe

board members or corporate officers constitutes the enterprise").

         Plaintiffs cursory and conclusory statements are insufficient to establish that either VBF

or Foimder Defendants were an enterprise for purposes of its RICO claim. As such. Plaintiffs

RICO claim is futile, and this Court should not allow Plaintiff to file the SAC drafted.

                                                       CONCLUSION


         For all these reasons, Founder Defendants respectfully request that this Court deny VBF

leave to file the Second Amended Complaint and grant them any and all other relief that it deems

necessary and just, including the costs ofopposing this Motion.




                                                        24
!44467lvl -V026S.00001 Resp to VBF Mot_Amend (final)
 Case 3:19-cv-00764-X Document 122 Filed 06/14/19                        Page 25 of 25 PageID 3559




Date: June 14,2019                                     LESLIE WULF,BRUCE HALL,
                                                       JOHN(TED)REA,JAMES REA


                                                       Bv:/s/Kimberlv D. Annello
                                                              Kimberly D. Annello
                                                              Texas Bar No.24093704
                                                              David Campbell
                                                              Texas Bar No
                                                              Eli Pierce
                                                              Texas Bar No.
                                                              Underwood Perkins,P.C.
                                                              5420 LBJ Freeway, Suite 1900
                                                              Dallas, Texas 75240
                                                              Phone: 972.661.5114
                                                              Email: kanneilo@UDlawtx.com
                                                                    dcampbeIl@,uplawtx.com
                                                                    eDierce@,UDlawtx.com



                                                              Attorneys for Defendants, Leslie Wulf,
                                                              Bruce Hall, John (Ted) Rea, and James
                                                              Rea




                                                         25
1444671vl -V026S.00001 Resp to VBF Mot_Amend (final)
